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UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

September 2019 Grand Jury

UNITED STATES OF AMERICA, No. LA C 2U = 0 0 0 5 0 - JEW
Plaintiff, INDICTMENT |
Vv. [18 U.S.C. § 152(1): Concealment
of Bankruptcy Assets; 18 U.S.C.
STEPHEN WILLIAM BEAL, § 152(7): Fraudulent Transfer and
Concealment ]
Defendant.

 

 

 

 

The Grand Jury charges:

A. INTRODUCTORY ALLEGATIONS

At all times relevant to this Indictment:

1. Defendant STEPHEN WILLIAM BEAL resided in Los Angeles
County within the Central District of California.

2. Marsh & McLennan Companies Personal Accident Insurance Plan
(“AIG”) was an employee welfare benefits plan offering accidental
death benefits.

3. ABC Swimming Pools was located in Orange County within the

Central District of California.

 

 
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A, On or about December 11, 2008, defendant BEAL entered into.
a contract to renovate the pool at his residence in the amount of
approximately $35,000.

5. On October 5, 2009, defendant BEAL filed a voluntary
petition (the “petition”) for bankruptcy under Chapter 13 in the
Central District of California, In re: Stephen William Beal,
Bankruptcy Case No. 2:09-BK-37002-NB. Defendant BEAL identified ABC
Swimming Pools as a creditor in the amount of approximately $6,200.
In the petition, defendant BEAL stated that he had a potential claim
against AIG for failure to “pay out on his deceased wife’s insurance
policy” and that recovery was “speculative.” Defendant BEAL was
required to notify the bankruptcy trustee of any proceeds and
payments he received. Defendant BEAL was also required to obtain
permission from the bankruptcy trustee and bankruptcy court prior to
incurring any debt.

6. On or about January 28, 2010, defendant BEAL filed a
lawsuit against AIG for failure to pay death benefits. Defendant
BEAL did not report the filing of the lawsuit to the bankruptcy
trustee, bankruptcy court, or his creditors.

7. On or about March 25, 2010 and on or about May 7, 2010,
defendant BEAL obtained a loans in the amount of $25,000 (repayment
amount $64,400). Defendant BEAL did not report the debt to the
bankruptcy trustee, bankruptcy court, or his.creditors.

8. On or about March 1, 2011, defendant BEAL obtained a
judgment against AIG in the amount of $550,000 for failure to pay
death benefits. Defendant BEAL did not report the judgment to the

bankruptcy trustee, bankruptcy court, or his creditors.

 

 
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9. On or about April 4, 2011, defendant BEAL received
approximately $350,000 from AIG for failure to pay death benefits.

Defendant BEAL did not report receipt of this money to the bankruptcy

-trustee, bankruptcy court, or his creditors.

10. On or about April 4, 2011, defendant BEAL transferred
approximately $150,000 to two brokerage accounts.

11. On or about April 5, 2011, defendant BEAL paid ABC Swimming
Pools approximately $6,500.

12. On or about April 8, 2011, defendant BEAL transferred

approximately $100,000 to a brokerage account.

13. On June 13, 2011, defendant BEAL paid ABC Swimming Pools

approximately $900.

 

 
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COUNT ONE
[18 U.S.C. § 152(1)]

From on or about April 4, 2011 through on or about February 4,
2015, in Los Angeles and Orange Counties, within the Central District
of California and elsewhere, defendant STEPHEN WILLIAM BEAL, then a
debtor in a case under Title 11 of the United States Code, did
knowingly and fraudulently conceal property belonging to In re:

Stephen William Beal, Bankruptcy Case No. 2:09-BK-37002-NB,

 

 

 

specifically proceeds and payments to him received from AIG in the
amount of approximately $350,000, from the trustee charged with
control of the debtor’s property and from the creditors and the

United States Trustee.

 

 
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COUNT TWO
[18 U.S.C. § 152(7)]

From on or about April 4, 2011 through on or about February 4,
2015, in Los Angeles and orange Counties, within the Central District
of California and elsewhere, defendant STEPHEN WILLIAM BEAL, then a
debtor in a case under Title 11 of the United States Code, namely, In

re: Stephen William Beal, Bankruptcy Case No. 2:09-BK-37002-NB, did

 

 

 

knowingly and fraudulently, and with intent to defeat the provisions
of Title 11, transfer and conceal property, .proceeds and payments to
defendant BEAL received from ATG in the amount of approximately
$350,000, thereby causing a loss of assets from the trustee charged
with control of the debtor’s property and from the creditors and the
United States Trustee.

A TRUE BILL

sae

Foreperson |

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